 Case: 1:10-cv-01168 Document #: 1267 Filed: 01/16/18 Page 1 of 10 PageID #:37761
                                                                                1


1                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
2                                EASTERN DIVISION
3
4     NATHSON E. FIELDS,            )
                                    )
5                       Plaintiff, )             Docket No. 10 C 1168
                                    )
6                  vs.              )
                                    )
7     CITY OF CHICAGO, et al.,      )            Chicago, Illinois
                                    )            September 15, 2011
8                       Defendants. )            10:10 a.m.
9
                            TRANSCRIPT OF PROCEEDINGS
10                  BEFORE THE HONORABLE MATTHEW F. KENNELLY
11
      APPEARANCES:
12
13    For the Plaintiff:           LAW OFFICES OF H. CANDACE GORMAN
                                        BY: MS. H. CANDACE GORMAN
14                                      220 South Halsted Street
                                        Suite 200
15                                      Chicago, Illinois 60661
16
                                   LAW OFFICE OF MOLLY ARMOUR
17                                      BY: MS. MOLLY ARMOUR
                                        4050 North Lincoln Avenue
18                                      Chicago, Illinois 60018
19
20    For the Defendant:           DYKEMA GOSSETT PLLC
                                        BY: MR. DANIEL M. NOLAND
21                                      10 South Wacker Drive
                                        Suite 2300
22                                      Chicago, Illinois 60606
23
24                  LAURA M. BRENNAN - Official Court Reporter
                      219 South Dearborn Street - Room 2102
25                           Chicago, Illinois 60604
                                 (847) 373-5598
 Case: 1:10-cv-01168 Document #: 1267 Filed: 01/16/18 Page 2 of 10 PageID #:37762
                                                                                2


1          (The following proceedings were had in open court:)
2                THE CLERK: 10 C 1168, Fields v. City.
3                MS. GORMAN: Good morning, your Honor; Candace Gorman
4     for the plaintiff.
5                MS. ARMOUR: Molly Armour, also for the plaintiff.
6                MR. NOLAND: Good morning, your Honor; Dan Noland for
7     the City defendants.
8                THE COURT: So is there any objection to the
9     plaintiff's motion for a Privacy Act order?
10               MR. NOLAND: No, your Honor.
11               The only suggestion I would make --
12               Just so there would be no confusion on production of
13    documents in the proposed order, it states the United States
14    will produce to the plaintiff certain documents, and I would
15    just suggest that to both sides.
16               THE COURT: So here's what I would like you to do.
17    Tweak the order to add that, and send me an electronic version
18    using the directions on my web page, and I will get that
19    signed. So the motion for a Privacy Act order is granted.
20               So on the City defendants' motion for a protective
21    order, I have the motion, I've got a response. And is there
22    more you want to tell me about this, I guess, Mr. Noland?
23               MR. NOLAND: Your Honor, the only thing I would reply
24    on would be the complaint register issue that could be an
25    issue that -- I don't know if your Honor has seen the briefing
 Case: 1:10-cv-01168 Document #: 1267 Filed: 01/16/18 Page 3 of 10 PageID #:37763
                                                                                3


1     on that before on other cases. This has to do with the
2     amendment to the Illinois FOIA and its potential effect.
3                THE COURT: So that doesn't have anything to do with
4     whether it's producible in the case. It has to do with
5     whether there should be a protective order barring its
6     publication, if you will, in other words.
7                MR. NOLAND: Yes.
8                THE COURT: Okay. So let me ask this question. Does
9     anybody know as you stand there how many CR files there are
10    and what the nature or tenor of them is?
11               MR. NOLAND: I have provided to the plaintiff's
12    counsel, attorney's eyes only, the agreement that the CR,
13    complaint register histories -- these go, you know, way back.
14    All these officers for the most part are retired. And it
15    varied. You know, there's a lot of officers. And so my
16    recollection is some of the officers had maybe two or three on
17    there. Other of the officers had more.
18               THE COURT: Is it more than a dozen officers named in
19    the case?
20               MS. GORMAN: I think it's about 14, I think.
21               THE COURT: Yes, a little bit more.
22               So what's happened in quite a number of the cases in
23    which I had this issue is that once the stuff actually gets
24    disclosed, it turns out to be a nonissue either because --
25    well, in some cases it's been none of the stuff is relevant.
 Case: 1:10-cv-01168 Document #: 1267 Filed: 01/16/18 Page 4 of 10 PageID #:37764
                                                                                4


1     I mean, in other words, you may have an excessive force case
2     and somebody has a beef on, you know, not following up on, you
3     know, some sort of a call which turns out not even conceivably
4     relevant. And so the way I've resolved it in quite a number
5     of cases is I've looked at the stuff in camera, which I'm not
6     necessarily, you know, suggesting, and just said it's not
7     relevant, you don't have to produce it at all.
8                I don't know what the volume is of the stuff, you
9     know, paper wise. You probably don't even know yet yourself.
10               MR. NOLAND: I don't know. I don't even have them.
11               THE COURT: It could be a lot.
12               MR. NOLAND: I gave them the histories with the
13    thought process that we would have a meet-and-confer on which
14    ones they would like us to order and copy, and then we could
15    have our debate among counsel about that.
16               I would guess that -- this is a guess -- that there's
17    probably roughly a hundred files between all the officers.
18               THE COURT: Let's scratch the review in camera at
19    least for the moment. So I don't --
20               My first thought on this is I don't think state law
21    governs the issue. I mean, I think it's an element of what I
22    have to decide, but it's a federal case involving federal
23    claims, so I don't think state law governs the issue.
24               On the other hand, I guess one of the -- you know,
25    it's not particularly uncommon for there to be protective
 Case: 1:10-cv-01168 Document #: 1267 Filed: 01/16/18 Page 5 of 10 PageID #:37765
                                                                                5


1     orders that involve information that may not be protected by a
2     legal privilege but as to which somebody has some sort of
3     legitimate claim of confidentiality, and it's not at all
4     unusual, you know, to have that happen. Frankly, half the
5     cases I have sitting in this room probably have protective
6     orders on stuff where there isn't a statute that says this is
7     protective.
8                So why do you think that you need to be able to
9     disclose the CR files to other people other than your client,
10    of course?
11               MS. GORMAN: Well, first of all, my client is an
12    important --
13               THE COURT: No, I understand that.
14               MS. GORMAN: I would also like the ability to go and
15    talk with these people who have filed complaints. And it's my
16    understanding of the way this is drafted, I wouldn't even be
17    allowed to do that.
18               THE COURT: Yes, but you haven't even seen it yet. I
19    mean, you don't know that you are going -- it's anything
20    you're going to need to do.
21               I guess my inclination would be to enter the order,
22    and then you will get the stuff and you will look at it, and
23    if you think, you know, having done that, that it's
24    unreasonably restrictive because you need to interview some of
25    the people and I will deal with it then. That's what I would
 Case: 1:10-cv-01168 Document #: 1267 Filed: 01/16/18 Page 6 of 10 PageID #:37766
                                                                                6


1     be inclined to do.
2                So explain to me why I should restrict the material
3     that Mr. Fields gets. Is there some suggestion --
4                And I read everything you said, and, I mean, I'm
5     familiar with that case, okay. I've heard about it before,
6     and back from my past life, I am very familiar with cases in
7     which stuff that was turned over in discovery down at 26th
8     Street ended up in, you know, somebody's car and that wasn't
9     related to the case. I mean, I am very familiar with all
10    those issues.
11               But is there some reason to think that there is any
12    current involvement by Mr. Fields in any of this sort of
13    activity?
14               MR. NOLAND: I have no information with respect to
15    that, your Honor. It's simply based on past information. I
16    felt it was my responsibility to bring it to the Court's
17    attention.
18               THE COURT: Mr. Fields is here, right?
19               MS. GORMAN: Yes.
20               THE COURT: So he's hearing what I'm saying.
21               I mean, if I enter a protective order and stuff gets
22    out, very, very bad things are going to be happening to
23    people; namely, they're going to be leaving the courtroom by
24    the side door which leads to a lockup rather than the back
25    door. I really don't see any good reason at this point in
 Case: 1:10-cv-01168 Document #: 1267 Filed: 01/16/18 Page 7 of 10 PageID #:37767
                                                                                7


1     time so far removed from the events that we're talking about
2     to restrict the plaintiff's ability to discuss stuff with
3     their client and to show it to them.
4                Go ahead.
5                MR. NOLAND: Just so there's --
6                From the plaintiff's response, I just want to make
7     sure there was no misunderstanding of what we were suggesting
8     in the order. What we were suggesting is the plaintiff
9     himself could see any materials with respect to the
10    investigation of the Hickman-Smith murder.
11               THE COURT: Which is a subset, though.
12               MR. NOLAND: That's this case.
13               THE COURT: Yes.
14               MR. NOLAND: And also the Vaughn-White murder, or
15    murders, that was another case with which Mr. Fields was
16    initially implicated and then no longer; and then a third
17    case, which is the Watkins case, which is the case where he
18    was convicted. As it turns out, that is actually Dixmoor
19    City's records, not CPD records.
20               The records that I was suggesting not be provided to
21    him were these other unrelated El Rukn investigations and
22    murders, all these other cases, which I didn't see why
23    Mr. Fields himself would need to see those records. There is
24    no information that he was specifically involved in those
25    crimes. It was simply --
 Case: 1:10-cv-01168 Document #: 1267 Filed: 01/16/18 Page 8 of 10 PageID #:37768
                                                                                8


1                The concern was simply why provide the information
2     when I don't see any reason why he necessarily would have to
3     have them.
4                THE COURT: Let me give you the answer. It's pretty
5     simple. If the stuff wasn't relevant, you would have been in
6     here objecting to relevance and I would have been deciding
7     that it wasn't relevant or that it was relevant. You haven't
8     objected to it. That sounds like to me that you're not
9     disputing the proposition that it's relevant, and we're
10    talking about a lawyer talking to their client about relevant
11    material.
12               Do I need to explain further why they need to look at
13    it? I mean, seriously.
14               MR. NOLAND: I think that they can have that
15    discussion without providing the material.
16               THE COURT: I don't. I don't, and so that's the end
17    of it, okay. So there's not going to be any restrictions on
18    what Mr. Fields can see. He is subject to the protective
19    order, just like everybody else.
20               And as far as the rest of it is concerned, you know,
21    on the CRs and whatnot, I want to enter it the way it is now,
22    and then you can come in and ask me to modify it.
23               So here's what I'm going to need from you. What I'm
24    going to need is the tweaked order on the Privacy Act thing.
25    And then embody what I -- incorporate what I just said into a
 Case: 1:10-cv-01168 Document #: 1267 Filed: 01/16/18 Page 9 of 10 PageID #:37769
                                                                                9


1     revised version of the other protective order. Get me
2     something electronically. I will enter both of them, and we
3     will be on about it.
4                And I'm going to see you in a few weeks, right, for a
5     status?
6                MS. GORMAN: You're going to see us next week because
7     someone else has a motion.
8                THE COURT: Oh, that's right, yes, another motion to
9     quash a subpoena or something like that. So I will see you
10    then. Okay, take care.
11               MS. GORMAN: Your Honor, could I just clarify one
12    issue?
13               THE COURT: Yes.
14               MS. GORMAN: Because one of the packets of documents
15    that the government -- that the City has labeled as
16    confidential was actually street files related to my client.
17    What they're saying is that --
18               THE COURT: When you say "the government," do you
19    mean --
20               MS. GORMAN: I mean the City.
21               THE COURT: The City.
22               MS. GORMAN: They marked those as confidential. Now
23    it seems like they're saying that they're not even claiming
24    that that should have been confidential in the first place.
25               THE COURT: Can't you talk about this yourselves
Case: 1:10-cv-01168 Document #: 1267 Filed: 01/16/18 Page 10 of 10 PageID #:37770
                                                                               10


1    without me?
2                MS. GORMAN: That's fine, your Honor.
3                THE COURT: Thank you. Fine.
4                MR. NOLAND: Thank you, your Honor.
5                MS. GORMAN: Thank you.
6
7         (Which were all the proceedings had in the above-entitled
8    cause on the day and date aforesaid.)
9
10
11                             C E R T I F I C A T E
12
13             I hereby certify that the foregoing is a true and
14   correct transcript of the above-entitled matter.
15
16
17   /s/ Laura M. Brennan                                  November 2, 2017
18
19
     Laura M. Brennan
20   Official Court Reporter                                       Date
     Northern District of Illinois
21
22
23
24
25
